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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF INDIANA

 IRISH 4 REPRODUCTIVE HEALTH
 et al.,

      Plaintiffs,                                   Case No. 3:18-cv-0491-PPS-JEM

 v.

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES
 et al.,

      Defendants.


                                          STATUS REPORT

         On August 25, 2021, the Court granted the parties’ joint motion to stay the proceedings in

this case and ordered Federal Defendants to submit a status report on or before November 17,

2021, and every 90 days thereafter. ECF No. 139. Federal Defendants accordingly submit the

following:

         1.         On August 12, 2021, the Court dismissed a number of the claims at issue in this

case, leaving pending only Plaintiffs’ arbitrary and capricious challenge to the Final Rules. Op.

and Order, ECF No. 137.           Federal Defendants (now the only remaining defendants) have

previously moved for partial summary judgment on the arbitrary and capricious claim. ECF No.

114.

         2.         On August 16, 2021, Federal Defendants announced that “[t]he Departments [of

Health and Human Services, the Treasury, and Labor] intend to initiate rulemaking within 6

months to amend the 2018 final regulations and obtaining public input will be included as part of

the Departments’ rulemaking process.” CMS.Gov, Frequently Asked Questions, Affordable Care




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Act Implementation FAQs (Set 48) (Aug. 16, 2021), https://www.cms.gov/files/document/faqs-

part-48.pdf.

       3.      Federal Defendants report that on February 2, 2023, they published a notice of

proposed rulemaking that would “amend regulations regarding coverage of certain preventive

services under the Patient Protection and Affordable Care Act, which requires non-grandfathered

group health plans and non-grandfathered group or individual health insurance coverage to cover

certain contraceptive services without cost sharing.” U.S. Dep’t of the Treasury, U.S. Dept’t of

Labor, & U.S. Dep’t of Health & Human Servs., Coverage of Certain Preventive Services Under

the Affordable Care Act, 88 Fed. Reg. 7,236 (Feb. 2, 2023), https://www.federalregister.gov/

documents/2023/02/02/2023-01981/coverage-of-certain-preventive-services-under-the-

affordable-care-act.

       5.      The comment period for the proposed rule closed on April 3, 2023. Federal

Defendants received more than 44,000 comments on the proposed rule.             The review and

assessment of the comments is ongoing.

       6.      Regarding the timing of the release of the Final Rule, the Office of Management

and Budget periodically issues a Unified Agenda of Regulatory and Deregulatory Actions (Unified

Agenda), which reports on administrative agencies’ planned regulatory actions. The Unified

Agenda represents Federal Defendants’ statement of their expectations regarding the timeline for

rulemaking. The Fall 2023 Unified Agenda, which is the most recent Unified Agenda as of this

filing, states that Federal Defendants expect to publish the Final Rule in August 2024. Executive

Office of the President of the United States, Office of Information and Regulatory Affairs, Office

of Management and Budget, HHS/CMS, Coverage of Certain Preventive Services Under the

Affordable Care Act, available at https://www.reginfo.gov/public/do/eAgendaViewRule?pubId=

202310&RIN=0938-AU94.


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       6.      Similar pending cases in California and Pennsylvania remain stayed.                 See

California v. HHS, No. 4:17-cv-5783 (N.D. Cal.) (motions held in abeyance Mar. 2, 2021, ECF

No. 454; stayed Aug. 17, 2021); Pennsylvania v. Biden, No. 2:17-cv-4540 (E.D. Pa.) (stayed Mar.

8, 2021, ECF No. 271).

       7.      Federal Defendants propose that this case remain stayed and that Federal

Defendants continue to file status reports every 90 days to apprise the Court of the status of the

rulemaking and their position on the need for a continued stay.

       8.      Undersigned counsel has conferred with counsel for Plaintiffs, and Plaintiffs have

advised that they do not oppose keeping the litigation in its current posture at this time.



 Dated: February 12, 2024                             Respectfully submitted,

                                                      BRIAN NETTER
                                                      Deputy Assistant Attorney General

                                                      MICHELLE R. BENNETT
                                                      Assistant Branch Director

                                                      /s/ Rebecca M. Kopplin
                                                      REBECCA M. KOPPLIN
                                                      Trial Attorney (California Bar No. 313970)
                                                      MICHAEL GERARDI
                                                      CHRISTOPHER R. HEALY
                                                      DANIEL RIESS
                                                      Trial Attorneys
                                                      United States Department of Justice
                                                      Civil Division, Federal Programs Branch
                                                      1100 L Street, NW
                                                      Washington, D.C. 20005
                                                      Telephone: (202) 514-3953
                                                      Facsimile: (202) 616-8470
                                                      Email: Rebecca.M.Kopplin@usdoj.gov

                                                      Counsel for Federal Defendants




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Status Report was served on

counsel for all parties using the Court’s CM/ECF system on February 12, 2024.



                                                    /s/ Rebecca M. Kopplin
                                                    REBECCA M. KOPPLIN
                                                    Counsel for Federal Defendants




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